Case 1:23-cv-20304-RKA Document 51-1 Entered on FLSD Docket 06/09/2023 Page 1 of 2




                            Exhibit 1
Case 1:23-cv-20304-RKA Document 51-1 Entered on FLSD Docket 06/09/2023 Page 2 of 2


                                      Merril
                                        Longmore commented on this                                                          • • •




                                                   Aaron Conant • 3rd+
                                                   Advisor, Thought Leader Digital Matchmaker, Podcast               + Follow
                                                   6mo •
          Merril Longmore             The recent #amazon inventory reduction program has been dominating my
         Father I Husband I E-        conversations with brands of late.
         Commerce & Brand                                                                                            ...see more
         Protection Director I
     Investor I Crypto Enthusiast I
          Walk to Victory LLC


    Followers                   930

    Talks about #amazon,
    #ecommerce, #investing,
    #technology, and
    #digitaladvertising
                                                                                                     • 4,

                                                                                                         4




                Message




                                        DIGITAL DEEP DIVE
                                          WITH AARON CONANT




                                      Amazon's 1P vs 3P Dilemma
                                      bwgstrategy.com • 3 min read

                                              57                                                         8 comments • 2 reposts


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                                      Most relevant

                                                Merril Longmore • 3rd+                                                 5mo •••
                                                Father I Husband I E-Commerce & Brand Protection Director I Inv...
                                                What about when Amazon tells you you can't go 3p! Infuriating
                                                when they are intentionally gaping out on products and then tell
                                                us we can't do 3p either.

                                                Like I Reply • 2 Replies

                                                          Merril Longmore • 3rd+                                       5mo •••
                                                          Father I Husband I E-Commerce & Brand Protection Dire...
                                                          Garrett Bluhm Yes, I listened to the podcast. Lots of good
                                                          insights. Lots to think through for 2023 plan.

                                                          Like       Reply
